







		NO. 12-09-00131-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: ROBERT JAMES FOX,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	Robert James Fox has filed an "Emergency Petition for Declaratory Judgment" requesting 
this court to "promptly hear and adjudicate" the charge against him for allegedly tampering with a
government record in violation of Texas Penal Code section 37.10.

	The jurisdiction of the courts of appeals is constitutionally and legislatively created.  See Tex.
Const. art. V, § 6(a); Tex. Gov't Code Ann. § 22.201(m) (Vernon Supp. 2008); Tex. Code Crim.
Proc. Ann. arts. 4.01, 4.03 (Vernon 2005).  This jurisdiction, insofar as it relates to the merits of
criminal cases, is appellate only.  See Tex. Code Crim. Proc. Ann. art. 4.03.  The exercise of this
jurisdiction involves reviewing judgments of lower courts.  See Carter v. State, 656 S.W.2d 468, 469
(Tex. Crim. App. 1983).  The entry of a declaratory judgment does not involve review of a lower
court's judgment, and no constitutional or statutory provision authorizes courts of appeals to enter
such a judgment.  Therefore, we are without jurisdiction to grant the requested relief.  Accordingly,
Fox's Emergency Petition for Declaratory Judgment is dismissed.  

Opinion delivered June 17, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)


